    Case 4:13-cr-00007-JRH-CLR Document 704 Filed 03/02/15 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

WILLIE JONES,

        Plaintiff,

V   .                                          CASE NOS. CV4 l42 63
                                                          CR4OO7
UNITED STATES OF AMERICA,            )
                                                                      N)

        Defendant.                   )


                                ORDER

        Before the Court is the Magistrate Judge's Repo t and

Recommendation, to which no objections have been filed.

(Doc. 4.) After a careful review of the record, the report

and recommendation        is ADOPTED     as the Court's opinion in

this case. As a result, Petitioner's 28 U.S.C. § 2255

Petition is DISMISSED WITHOUT PREJUDICE.          The Clerk of Court

is DIRECTED to close this case.

        SO ORDERED this 2day of March 2015.



                                     WILLIAM T. MOORE,
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
